  Case 3:20-cv-01235-PAD Document 21 Filed 06/16/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 SANDRA RODRÍGUEZ-COTTO, ET
 AL.

         Plaintiff,

                 v.                                       CIVIL NO. 20-1235 (PAD)

 WANDA VÁZQUEZ-GARCED, et al.,

         Defendants.


              MINUTES OF PROCEEDINGS: TELEPHONE CONFERENCE

       Today, the court held a telephone conference with attorneys Brian Hauss and Fermín L.

Arraiza-Navas, attorneys for plaintiffs; and Susana I. Peñagarícano-Brown and Juan C. Ramírez,

attorneys for defendants. The conference started at 9:51 a.m. and ended at 10:05 a.m.

       1.      The parties were informed that the court has been reviewing the motions and

materials filed, and is also aware of Senate Bill 1582, which the Senate of Puerto Rico approved

on May 26, 2020, and referred to the House of Representative for further action. Among others,

if approved, the Bill will modify the two sections of the Law of the Puerto Rico Department of

Safety, P.R. Laws Ann. tit. 25 § 3501, et seq., that plaintiffs are challenging in this case. With that

in mind, the court ordered the parties to submit briefs, by June 23, 2020, as to whether Senate Bill

1582, if signed into law, will moot this action.

       2.      The parties shall confer as to the hearing they envision. If they want an in-

person/live hearing the court will need at least two (2) weeks to coordinate and comply with

COVID-19 protocols in place. Otherwise, the hearing will be held via VTC (Docket No. 5). For

that, the parties shall discuss and determine whether any of them will need to present any exhibits

and live testimony. In due course, the court will contact the parties via telephone for an update.
  Case 3:20-cv-01235-PAD Document 21 Filed 06/16/20 Page 2 of 2
Rodríguez-Cotto et al v. Vázquez-Garced et al.
Civil No. 20-1235 (PAD)
Minutes of Proceedings Telephone Conference
Page 2



        SO ORDERED.

        In San Juan, Puerto Rico, this 16th day of June, 2020.

                                                     s/Pedro A. Delgado-Hernández
                                                     PEDRO A. DELGADO-HERNÁNDEZ
                                                     United States District Judge
